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FoR THE WESTERN DISTRICT oF TENnEss_i~;E 4a 6»__ '
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GEoRGE GoRDoN,
Plaimirf,
vS. No. 04-1107-T-An

QUENTON l. WHITE, et al.,

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Defendants.

 

ORDER DENYING MOTION TO GRANT LEAVE TO FILE DISCOVERY

 

Plaintiff has filed a motion for leave to tile his discovery, specifically his first set of
interrogatories Pursuant to the provisions of Rule 5(d) of the Federal Rules of Civil
Procedure, depositions, interrogatories requests for production of documents, and requests
for admissions sh_all not be filed except by order of the court, although relevant portions of
discovery documents may be filed in support of motions HoWever, Plaintiff may serve his
interrogatories on Defendants Without leave of court in accordance With the Federal Rules
of Civil Procedure. Accordingly, Plaintiff’s motion is DENIED.

To the extent that Plaintiff seeks leave to file a motion to amend his complaint, the

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motion is DENIED as moot because the motion to amend has already been tiled.'

IT IS SO ORDERED.

WD- Q#M

JA S D. TODD
TED STATES DlSTRICT ]UDGE

23 @MWMF

DATE 0

 

l The motion to amend was filed on August 3, 2005.

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TAET

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UNITED DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 1:04-CV-01107 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

